On a prosecution under Code § 13-9933, for passing worthless checks, the intent to defraud cannot be presumed until it is shown by the evidence that the defendant did not have sufficient funds in or credit with the bank upon which the check was drawn to pay it at the time it was presented for payment.
                         DECIDED MARCH 18, 1949.
The plaintiff in error, R. T. Crain, herein referred to as the defendant, was tried in the City Court of Athens on an accusation under § 13-9933 for passing two worthless checks to the Northeast Georgia Livestock Marketing Association, a corporation located in Clarke County. The accusation was brought in two counts, one for the giving of a check amounting to $925.78, and the other for the giving of a check in the sum of $1502.81, on August 6, 1947, for the payment of the purchase-price of certain cattle, "knowing at the time of the making, drawing, uttering and delivering of said checks . . that Crain Used Cars Inc., the corporation for which he was acting, did not have sufficient funds in said bank and depository, and did not have sufficient credit with said bank and depository for payment of said checks . . upon presentation."
The evidence discloses that the checks were given in Athens to the Livestock Association on August 6, 1947, and that they were deposited in the National Bank of Athens on August 7, 1947. Thereafter the two checks were put in the usual banking channels for clearance, by being sent to the First National Bank of Atlanta for presentation to the South Side Atlanta Bank, the bank upon which they were drawn. The checks were later returned to the National Bank of Athens. They were redeposited *Page 807 
on August 18, 1947, and again put in the same banking channels and returned. The State's exhibit No. 10 consists of memorandum slips of South Side Atlanta Bank attached to both checks, showing that this bank returned checks "for the reason checked below," and the reason checked below was "insufficient funds." There is nothing in the record with reference to these memorandum slips to indicate whether they became attached to the checks on their first trip or their second, nor is there anything to indicate when the checks were presented to the bank upon which they were drawn for payment. The State's exhibit No. 2 consists of the original ledger sheets of South Side Bank, Atlanta, of the account of Crain Used Cars Inc., R. T. Crain, 250 Washington Street, S.W., beginning on August 7 and ending August 22, 1947, as follows:
      Aug.  7     $  899.69      Aug. 15    $3,039.34
      Aug. 11     $1,343.05      Aug. 18    $2,983.18
      Aug. 12     $2,433.79      Aug. 19    $  793.19
      Aug. 13     $2,414.79      Aug. 19    $  791.19
      Aug. 14     $3,414.79      Aug. 20    $2,932.30
      Aug. 14     $4,414.70      Aug. 21    $3,132.30
      Aug. 15     $5,424.14      Aug. 22    $  344.67

The checks in question were introduced as State's exhibit Nos. 3 and 4, endorsed for deposit in National Bank of Athens for credit. If the checks in question contained any other endorsements or notations, the same are not disclosed by the record. The evidence also shows that Northeast Georgia Livestock Marketing Association lost the amount of the two checks totaling $2428.59.
The defendant made a statement, in which he said that he was the vice president, Mrs. Cook the secretary and treasurer, and Mr. Hood the president of the Crain Used Cars Inc.; that he purchased cattle from the Northeast Georgia Livestock Marketing Association, and gave the checks in payment; and that he called the office of the corporation and was assured that sufficient money was in the bank before he gave the checks. He denied any intent to defraud the Northeast Georgia Livestock Marketing Association. The jury returned a verdict of guilty, and he was sentenced to pay a fine of $300 and to serve 12 months in the Public Works Camp, to be served on probation, *Page 808 
conditioned on his payment of the fine and his payment of the amount of the checks to the Livestock Association. He filed a motion for a new trial, which was overruled, and error is assigned on this judgment.
Code § 13-9933, on which the defendant was tried, provides as follows: "Any person who, with intent to defraud, shall make, or draw, or utter, or deliver any check, draft or order for the payment of money upon any bank, or other depository, knowing at the time of such making, drawing, uttering or delivering that the maker or drawer has not sufficient funds in or credit with such bank, or other depository, for the payment of such check, draft or order upon its presentation, shall be guilty of a misdemeanor. The making, drawing, uttering, or delivering of such check, draft, or order as aforesaid shall be prima facie evidence of intent to defraud. The word `credit' as used herein shall be construed to mean an arrangement or understanding with the bank or depository for the payment of such check, draft or order." The gravamen of the offense is the intent to defraud. See McCard v. State,54 Ga. App. 339 (187 S.E. 850); Meena v. State, 66 Ga. App. 99
(17 S.E.2d 86). Attention is directed to that part of the Code section in question with reference to prima facie evidence of intent to defraud as follows: "The making, drawing, uttering, or delivering of such check . . shall be prima facie evidence of intent to defraud." (Italics ours.) The words "such check" there used mean a check made, drawn, uttered, or delivered, the drawer having not sufficient funds in or credit with the bank for the payment thereof upon its presentation. It follows that the intent to defraud cannot be presumed until the State shows by the evidence that at the time of the presentation of the checks the drawer had not sufficient funds with which to pay the same. Reference to the statement of facts herein discloses that these checks were drawn August 6, 1947. There is nothing to indicate whether on that day the defendant had sufficient funds in the South Side Bank, Atlanta, Georgia, with which to pay the same or not. The record shows that on August 7 he did not have sufficient funds in the bank *Page 809 
with which to pay either of the checks, but on that day the checks were deposited in the National Bank of Athens and thereby placed in regular banking channels. The checks could hardly have been presented to the bank upon which they were drawn that day. The record is silent on the question of whether or not the defendant had sufficient funds to pay either or both of the checks on August 9. August 10, 1947, came on Sunday. On any day that the checks were presented, from August 11 to August 15 inclusive, there were sufficient funds in the bank, according to the record, to pay one or both. The record is silent as to whether or not the defendant had sufficient funds in the bank on August 16. August 17 came on Sunday. On August 18 there were ample funds to pay both of said checks, but that was the day the checks were redeposited and thereby put into the regular banking channels for the second time. On August 19 and 22 there were not sufficient funds with which to pay either of said checks, and on August 20 and 21 there were sufficient funds with which to pay both.
Although the memorandum slips of the South Side Bank of Atlanta, attached to the checks, showing the reason for nonpayment as being "insufficient funds," in evidence as State's exhibit No. 10, were objected to and assigned as error herein under a special ground, which is not passed upon, it is enough to say that, where such slips become attached to checks in due course of the banking business and while the checks are going through the banking channels, the same are admissible in evidence in a case such as this. However, these slips fail to show when the checks were presented for payment to the bank upon which they were drawn, and fail to show whether the same became attached on the first occasion when presented, the second, or both. Therefore they failed to constitute evidence that the defendant did not have sufficient funds in the bank on which the checks were drawn, on the date of their presentation. Also, there being no evidence in the record as to what day the checks were presented for payment, it can not be said that the State has proved that the defendant did not have sufficient funds to pay said checks upon their presentation to said bank for payment. As a matter of fact, on almost any day that the checks could have been presented to the South Side Bank of Atlanta after August 7, there *Page 810 
were sufficient funds to pay either one of said checks or both of them.
Since the evidence fails to show that the defendant did not have sufficient funds in the bank upon which the checks were drawn to pay the same upon their presentation for payment, the intent to defraud can not be presumed in this case. The evidence is therefore not sufficient to support the verdict.
A part of the special grounds of the amended motion for a new trial are not sufficient to afford any proper question for the decision of this court, and the remainder thereof assigns alleged errors not likely to recur upon another trial of this case. For these reasons we will not pass upon the special assignments of error.
The trial court erred in overruling the motion for a new trial on the general grounds.
Judgment reversed. MacIntyre, P.J., and Gardner, J., concur.